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                                         CURRICULUM VITAE


                                         Stuart E. Beck, M.D.


Massachusetts General Hospital
55 Fruit Street
Boston, MA 02114

EDUCATION

       Lewis and Clark College                                  1980-1983
       B.S. in Chemistry

       University of Athens, Greece                             1983-1985
       General Studies

       Oregon Health Sciences University                        1985-1989
       M.D., Cum Laude

       University of California, San Francisco                  1989-1993
       Residency in Psychiatry

EMPLOYMENT

       Massachusetts General Hospital
             Attending, Adult Inpatient Service                 2012-

       St. Elizabeth’s Medical Center – Caritas Health Care
                Director, Adult Inpatient Service               2011-2012
                Associate Director, Residency Training          2011-2012

       Cambridge Health Alliance
              Director, Adult Inpatient Services                2002-2010
              Acting Director, Child Assessment Unit
                      & Adolescent Assessment Unit              2009-2010
              Director, Adult Partial Hospital Program          2006-2009
              Director, Transition Service                      2009-2010

       Kaiser - Southern California Permanente Medical Group
                Assistant Chief, Valley Service Area            2001-2002
                Full Partnership                                2000-2002
                Attending, Intensive Outpatient Program         1998-2002
                Outpatient Urgent Care Psychiatrist             1998-2002
                Attending, Partial Hospital Program             1999-2001
                Staff Psychiatrist at Northridge Hospital       1997-1998

       Veterans Affairs Medical Center, San Francisco
              Chief, Psychiatric Consultation Unit              1995-1997
              Chief, Psychiatric Intensive Care Unit            1993-1995




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ACADEMIC APPOINTMENT

     Harvard Medical School
            Clinical Instructor                           2002-2010
                                                          2012-

     Tufts Medical School                                 2010-2012

     University of California, San Francisco
             Assistant Clinical Professor                 1995-1997
             Clinical Instructor                          1993-1995

AWARDS

     Who's Who Among Students in
     American Universities and Colleges                   1988

     Alpha Omega Alpha Medical Honor Society              1988

     Lange Medical Publications Award                     1989

     LPPI-UCSF Alumni-Faculty Association
     Interdisciplinary Achievement Award                  1993

     Langley Porter Psychiatric Institute
     Alexander Simon Award for Excellence in Teaching     1993

     Langley Porter Psychiatric Institute
     Behavioral Neuroscience Acute Care Unit
     Award for Outstanding Administrative,
            Teaching and Clinical Skills                  1993

     Kaiser Permanente
     Physician Recognition Award                          1999

     Harvard Medical School
     Excellence in Teaching                               2004

     APA Irma Bland Award
     Excellence in Teaching Residents                     2008

     Harvard Medical School
     Principal Clinical Experience (PCE) Teaching Award   2013

     Harvard Medical School
     Cynthia N. Kettyle Teaching Award                    2013

     Harvard Medical School
     Principal Clinical Experience (PCE) Teaching Award   2014

     Harvard Medical School
     Principal Clinical Experience (PCE) Teaching Award   2015




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     Harvard Medical School
     Principal Clinical Experience (PCE) Teaching Award   2016


MEMBERSHIPS

     American Medical Association                         1985-
     Alpha Omega Alpha Medical Honor Society              1988-
     American Psychiatric Association                     1989-
     California Medical Association                       1989-2002
     California Psychiatric Association                   1989-2002
     Academy of Psychosomatic Medicine                    1996-1997
     Massachusetts Medical Society                        2002-
     Massachusetts Psychiatric Society                    2002-


LICENSURE

     National Board of Medical Examiners
             Diplomate                                    1990
     Medical Board of California
             Physician’s and Surgeon’s Certificate        1991-2004
     American Board of Psychiatry and Neurology
             Board Certified                              1995
             Board Recertification                        2005
             Board Recertification                        2015
     Massachusetts Board of Registration in Medicine
             Full License                                 2002-


SERVICE

     UCSF-Langley Porter, Adult Inpatient Units
           Senior Resident                                1992-1993

     UCSF-Langley Porter, Medical Staff Committee
           Resident Representative                        Fall 1992

     UCSF-Langley Porter, Utilization Review
           Physician Advisor                              1991-1992
           Physician Advisor Training                     Fall 1992

     UCSF-Langley Porter, Electroconvulsive Therapy
           Privileged Attending                           1992-1995

     UCSF, Residency Training Program
           Associate Director at the
           VAMC-SF Psychiatry Service                     1995-1997

     UCSF-Langley Porter, Resident Selection Committee
           Resident Representative                        1992-1993
           Interviewer                                    1993-1997
           Faculty Representative                         1995-1997


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     UCSF-Langley Porter, PGY2 Residency Evaluation Committee
           Member                                                 1995-1997

     UCSF-Langley Porter, PGY3 Residency Evaluation Committee
           Chair                                                  1995-1997

     UCSF-Langley Porter, Integrated Residency Committee
           Member                                                 1995-1997

     UCSF-Langley Porter, Residency Awards Committee
           Chair                                                  1996-1997

     VAMC-SF, Professional Assault Response Training (P.A.R.T.)
           Certified Trainer                                      1993-1996

     VAMC-SF, Medical Student Education
           Director                                               1994-1995

     VAMC-SF, Psychiatry Service, Quality Improvement
           Committee Chair                                        1994-1997

     VAMC-SF, Medical Center, Quality Management
           Co-Chair, Executive Quality Review Board               1995-1996

     Cambridge Hospital, Ethics Committee
            Member                                                2003-2010

     Cambridge Health Alliance, Department of Psychiatry
            Co-Chair, Complex Case Review Committee               2003-2010

     Cambrdige Health Alliance, Department of Psychiatry
           Residency Selection Committee                          2003-2010

     Cambridge Health Alliance, Physicians Organization
            Psychiatry Physician Trustee                          2009-2010

     Cambridge Health Alliance, ECT Program
            ECT Attending                                         2009-2010

TEACHING

     Medical Student Teaching
             Langley Porter: Psych 110 Core Clerkship              1992-1993
             VAMC-SF: Psych 110 Core Clerkships                    1994-1997
             Harvard Medical School: Psychiatry 500 Clerkship
                    at Cambridge Hospital                          2002-2006
             Harvard Medical School: Psychiatry 700M.J
                    Cambridge Hospital Small Group Leader                 2003-2005
             Harvard Medical School: Cambridge Integrated Clerkship
                    Psychiatry Tutorial Coordinator                2004-2007
             Harvard Medical School: Psychiatry 700M.J
                    Cambridge Hospital Site Co-Director            2006-2010


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       Resident Teaching
              Langley Porter: Inpatient Rotation                       1992-1993
              Langley Porter: Family and Dynamic Inpatient Module      1992-1993
              Langley Porter: Off-Unit Inpatient Supervision           1993-1997
              Langley Porter: Psychotherapy Supervisor                 1995-1997
              Langley Porter: Intern Clinic                            1994-1997
              VAMC-SF: Psychiatric Consultation Unit                   1995-1997
              Northridge Hospital: Family Practice Psychiatry Course   1997-1998
              Cambridge Health Alliance:
                      Inpatient Psychiatry Training Coordinator                2002-2010
              Cambridge Health Alliance:
                      Summer Intensive Course Director                 2003-2009
              Cambridge Health Alliance:
                      Psychotherapy / Chief Resident Supervisor        2003-2010
              Cambridge Health Alliance:
                      PGY2 Psychopathology Course Director             2006-2010

PUBLICATIONS

Beck SE and Tong LT, “Psychiatry in the Primary Care Setting: Managing Chronic Illness: Psychiatric
Issues”, Biopsychosocial Approaches in Primary Care, edited by Hoyle Leigh, MD, Plenum Press, 1997.

Donald A, Good B, Forstein M, Beck S, “First-Episode Psychosis: Influences of Culture and Medical
Comorbidity”, Harvard Review of Psychiatry 2004; Volume 12, Number 5, 279-292.

Gören J, Beck S, Mills B, Shtasel D, Dufresne R, “Development and Delivery of a Quality Improvement
Program to Reduce Antipsychotic Polytherapy”, J Manag Care Pharm 2010;16(6).




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